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                                 UNITED STATES DISTRICT COURT, DISTRICT OF NEW MEXICO
                                                          SENTENCING MINUTE SHEET
     CR No.       15-1027 JBM                                 USA vs.     ALVARADO
        Date:     09/29/2015                             Name of Deft:    JAIME JUAN ALVARADO
                    Before the Honorable        JOE BILLY MCDADE, SENIOR UNITED STATES DISTRICT JUDGE

        Time In/Out:         2:37 PM – 3:01 PM                                 Total Time in Court (for JS10):    24 MINUTES
                 Clerk:      JOANN O. STANDRIDGE                                            Court Reporter:       LCR TORTUGAS
                AUSA:        TERRI ABERNATHY                                         Defendant’s Counsel:         STEVEN ALMANZA
      Sentencing in:         LAS CRUCES, NM                                                      Interpreter:     N/A
Probation Officer:           EMMA CHACON-PENA                                                        Sworn?             Yes                    No
      Convicted on:           X     Plea                  Verdict                                        As to:     X   Information            Indictment

                  If Plea:    X     Accepted              Not Accepted     Adjudged/Found Guilty on Counts:

     If Plea Agreement:       X     Accepted              Not Accepted              No Plea Agreement             Comments:

 Date of Plea/Verdict:       03/25/2015                                                                 PSR:        X   Not Disputed           Disputed

        PSR:        X*       Court Adopts PSR Findings                                     Evidentiary Hearing:     X   Not Needed             Needed

 Exceptions to PSR:          *Page 4, Paragraph 10: Role adjustment reduction (agreed to by defense and government)

         SENTENCE IMPOSED                                 Imprisonment (BOP): 60 MONTHS
Supervised Release:          3 YEARS                                      Probation:                                          X       500-Hour Drug Program

                Court recommends ICE begin removal proceedings immediately or during service of sentence                      X       ICE not applicable

                                                            SPECIAL CONDITIONS OF SUPERVISION
         No re-entry without legal authorization                                         Home confinement for _____ months _____ days
         Comply with ICE laws and regulations                                            Community service for _____ months _____ days
 X       Part in/success complete subst abuse program/testing                            Reside halfway house _____       months _____ days
         Part in/success complete mental health program                                  Register as sex offender
 X       Refrain from use/possession of alcohol/intoxicants                              Participate in sex offender treatment program
 X       Submit to search of person/property                                             Possess no sexual material
         No contact with co-defendant and co-conspirators                                No computer with access to online services
         No entering, or loitering near, victim’s residence                              No contact with children under 18 years
         Provide financial information                                                   No volunteering where children supervised
         Grant limited waiver of confidentiality                                         Restricted from occupation with access to children
         Participate in an educational or vocational program                             No loitering within 100 feet of school yards
 X       OTHER: Defendant must cooperate in the collection of DNA. Defendant must refrain from the use and possession of synthetic
         cannabinoids or other legally sold designer drugs. Defendant must not possess a firearm, ammunition, destructive device or any
         other dangerous weapon.
Fine:       $                                                                                Restitution: $

SPA:        $     100.00                                                                 Payment Schedule:        X     Due Imm.                  Waived

OTHER:

         Advised of Right to Appeal             X        Waived Appeal Rights per Plea Agreement

 X       Held in Custody                                 Voluntary Surrender

 X       Recommended place(s) of incarceration:                 FCI LA TUNA, ANTHONY, NM/TX (if eligible)

         Dismissed Counts:

        OTHER COMMENTS               COURT VARIES TO A TERM OF 60 MONTHS
